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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


ALEXANDER CALDERÓN-LÓPEZ,

       Plaintiff,

                   v.                       Civil No. 16-1055 (FAB)

UNITED STATES OF AMERICA,

       Defendant.



                           OPINION AND ORDER


BESOSA, District Judge.

      The   defendant   United    States   moves   to       dismiss    plaintiff

Alexander     Calderón-López     (“Calderón”)’s    malicious        prosecution

claim pursuant to Federal Rule of Civil of Procedure 12(b)(1)

(“Rule 12(b)(1)”) and Federal Rule Civil Procedure 12(b)(6) (“Rule

12(b)(6)”).      (Docket No. 24.)     For the reasons set forth below,

the United States’ motion to dismiss is DENIED.

I.    Background

      The Court construes the following facts from the amended

complaint “in the light most favorable to the plaintiff” and

“resolve[s] any ambiguities” in the plaintiff’s favor. See Ocasio-

Hernández   v.   Fortuño-Burset,     640   F.3d   1,   17    (1st     Cir.   2011)

(discussing the Rule 12(b)(6) standard of review); see Viqueira v.

First Bank, 140 F.3d 12, 15 (1st Cir. 1998) (discussing the

Rule 12(b)(1) standard of review).
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      On January 16, 2016, Calderón commenced a civil action against

the United States pursuant to the Federal Tort Claims Act (“FTCA”),

28 U.S.C. sections 1346(b) and 2761 et seq.              (Docket No. 1.)          The

allegations asserted in the complaint stem from Calderón’s 2012

arrest by Drug Enforcement Administration (“DEA”) agents.

      Beginning     in    2008,     Calderón    worked   as    a   refrigeration

technician in the aviation division for the Port Authority of

Puerto Rico (“Port Authority”).             (Docket No. 1 at p. 4.)          During

his time at the Port Authority, the DEA conducted an investigation

regarding the transportation of illegal drugs into the United

States by Port Authority employees.            Id.   DEA agents learned that

a man known as “Calderón el de los puertos” participated in illegal

activity.     Id. at p. 6.    The physical description for “Calderón el

de   los   puertos”      differed    from    plaintiff   Calderón’s        physical

description.      Id.

      On May 31, 2012, a federal grand jury sitting in the District

of   Puerto    Rico      indicted     twenty-five    individuals       for       drug

trafficking-related offenses.               (Docket No. 1 at p. 4.)               The

indictment     charged      “Alexander       Calderón-López,       a/k/a    El     De

Puertos,” with two counts of conspiring to possess with the intent

to distribute a controlled substance in violation of the Racketeer

Influenced    and   Corrupt       Organizations   Act    (“RICO”),    18     U.S.C.

section 1962, (counts one and two), and two counts of possessing
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with the intent to distribute five kilograms or more of crack

cocaine in violation of 21 U.S.C. section 841(a)(1) and (2) (counts

four and ten).           Id.; see Crim. No. 12-434 (CCC), Docket No. 2. 1

On    the    same    day,   the    magistrate   judge    signed   a   warrant   for

Calderón’s arrest.          (Crim. No. 13-434, Docket No. 5 at p. 5.)

       Federal law enforcement officers arrested Calderón on June 6,

2016.       (Docket No. 1 at p. 5.)       After his initial appearance before

the     magistrate        judge,    Calderón    remained     detained     at    the

Metropolitan Detention Center (“MDC”) in Guaynabo, Puerto Rico for

five days.         Id.   On June 11, 2012, Calderón entered a plea of not

guilty at his arraignment, and the magistrate judge set bail at

$50,000 ($40,000 secured and $10,000 unsecured).                  (Crim. No. 12-

434, Docket No. 79.)           Calderón’s parents pledged their property to

secure       his    release.       Id.    The   magistrate    judge    authorized

Calderón’s release on June 13, 2012, subject to home confinement

and electronic monitoring.               (Crim. No. 12-434, Docket No. 95.)

Before his release, Calderón spent a total of seven days at MDC.

       Calderón nearly went to trial on five separate occasions, the

first four of which the Court vacated.                  The Court scheduled the



1 The Court takes judicial notice of the pleadings and judicial orders docketed

in Crim. No. 12-434 (CCC). See Rodríguez-Torres v. Gov’t Dev. Bank of P.R.,
750 F. Supp. 2d 407, 411 (D.P.R. 2010) (Besosa, J.) (“It is well-accepted that
federal courts may take judicial notice of proceedings in other courts if those
proceedings have relevance to the matters at hand.”) (internal citation
omitted).
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fifth and final trial date for February 3, 2014. 2            (Case No. 12-

434, Docket Nos. 381, 581, 645 and 679.)         Five days before trial,

the United States moved to dismiss the indictment against Calderón

without     prejudice    pursuant    to   Federal     Rule     of   Criminal

Procedure 48(a), and in the interests of justice.             (Case No. 12-

434, Docket No. 747.)     The Court granted the United States’ motion

to dismiss on March 25, 2014, entering judgment of dismissal the

same day.     (Case No. 12-434, Docket No. 848.)            The prosecution

against Calderón spanned a total of 20 months.

     Calderón commenced this action with the filing of a complaint

on January 12, 2016.      (Docket No. 1.)     Calderón contends that the

United States violated his rights pursuant to the First, Fourth,

Fifth, Eighth, and Fourteenth Amendments to the United States

Constitution, the FTCA, and the Puerto Rico General Torts Statute,

Articles 1802 and 1803 of the Civil Code.              Laws of P.R. Ann.

tit. 31, §§ 5141, 5142.      Id. at p. 1.     He concludes the complaint

by asserting two counts:       a malicious prosecution claim pursuant

to Puerto Rico law (count one), 3 and a negligence claim pursuant

to the FTCA (count two).      Id. at p. 17.     Calderón also alludes to


2 The court initially had set trial for October 11, 2012.    (Case No. 12-434,
Docket No. 184.)

3
  Although count one was brought “under Puerto Rico law,” the Court concludes
that the cause of action is brought pursuant to the FTCA, which allows the
United States to be sued in accordance with the law of the place where the
alleged wrongful acts occurred. 28 U.S.C. §§ 1346(b), 2674, 2675(a).
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a     myriad    of     additional      claims,    including:       (1) intentional

infliction      of     emotional      distress,     (2) negligent           selection,

supervision and retention of agents, employees, and informants,

(3) conspiracy to deprive him of his civil rights, and (4) loss of

consortium.      Id. at p. 4.

       In    April    2016,   the    United   States     moved    to   dismiss    the

complaint, arguing that Calderón’s claims were time-barred, and

that the constitutional tort claims fell beyond the scope of the

FTCA.       (Docket No. 8.)         On March 28, 2018, the Court dismissed

all of Calderón’s claims with prejudice, except for the malicious

prosecution claim.        Calderón-López v. United States, 303 F. Supp.

3d 212 (D.P.R. 2018) (Besosa, J.).               The United States now moves

to    dismiss    the    malicious     prosecution       claim    again.       (Docket

No. 24.)

II.    Standard of Review

       Rule 12(b) permits a party to assert defenses against claims

for relief.          Fed. R. Civ. P. 12.         A court, nonetheless, “must

construe the complaint liberally,” Aversa v. United States, 99

F.3d 1200, 1210 (1st Cir. 1996), and a complaint that adequately

states a claim may still proceed even if “recovery is very remote

and    unlikely.”        Ocasio-Hernández,        640    F.3d    at    13   (internal

quotation marks and citations omitted); see Katz v. Pershing, LLC,

672 F.3d 64, 70 (1st Cir. 2012) (“In considering the pre-discovery
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grant of a motion to dismiss for lack of standing, [courts] accept

as      true    all     well-pleaded     factual       averments        in   the

plaintiff’s . . . complaint and indulge all reasonable inferences

therefrom in his favor.”) (internal citation omitted).

        Rule 12(b)(1) allows a court to dismiss a complaint when a

plaintiff fails to establish subject-matter jurisdiction.                 Fed. R.

Civ. P. 12(b)(1).      The party asserting jurisdiction has the burden

of demonstrating the existence of federal jurisdiction.                 See Droz-

Serrano v. Caribbean Records Inc., 270 F. Supp. 2d 217, 217 (D.P.R.

2003) (García-Gregory, J.) (citing Murphy v. United States, 45

F.3d     520,   522   (1st   Cir.   1995)).      “As    courts     of    limited

jurisdiction, federal courts have the duty to construe their

jurisdictional grants narrowly.”         Fina Air, Inc. v. United States,

555 F. Supp. 2d 321, 323 (D.P.R. 2008) (Besosa, J.) (citing Alicea-

Rivera v. SIMED, 12 F. Supp. 2d 243, 245 (D.P.R. 1998) (Fusté,

J.)).

        A defendant may move to dismiss an action for failure to state

a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6).

To survive a Rule 12(b)(6) motion to dismiss, a complaint must

contain sufficient factual matter “to state a claim to relief that

is plausible on its face.”          Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). A court must decide whether the complaint alleges
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sufficient facts to “raise a right to relief above the speculative

level.”     Id. at 555.

III. Applicable Law

     “It is well settled that the United States, as sovereign, may

not be sued without its consent.”          Murphy v. United States, 45

F.3d 520, 522 (1st Cir. 1995.)        Pursuant to the FCTA, the United

States consents:

     to be sued for damages for personal injury caused by
     ‘the negligent or wrongful act or omission’ of a federal
     employee ‘while acting within the scope of his
     employment,’ provided that in the same circumstances a
     private employer would be liable for the acts of his
     employee under the [law of the place].

Day v. Mass. Air Nat’l Guard, 167 F.3d 678, 681 (1st Cir. 1999)

(quoting 28 U.S.C. §§ 1346(b), 2674, 2675(a)).            The “law of the

place” for purposes of the FTCA is determined by “where the alleged

wrongful acts occurred.”        González-Rucci v. U.S. Immigration &

Naturalization Serv., 405 F.3d 45, 48 (1st Cir. 2005) (holding

that “Puerto Rico law provides the relevant standards for the

substantive claims” pursuant to the FTCA when the alleged torts

occurred in Puerto Rico).        Because the United States’ allegedly

wrongful conduct occurred in Puerto Rico, Puerto Rico law controls.

See id. 4



4 The Court construes Calderón’s malicious prosecution claim “as one arising
pursuant to the FTCA because this is the only alleged waiver of sovereign
immunity set forth in the complaint.” Calderón-López, 303 F. Supp. 3d at 225.
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       Malicious     prosecution         “permits    damages    for    confinement

imposed pursuant to legal process.”                 Heck v. Humphrey, 512 U.S.

477, 482 (1994).           To prevail on a malicious prosecution claim

pursuant to Puerto Rico law, a plaintiff must establish “(1) that

a criminal action was initiated or instigated by the defendants;

(2) that the criminal action terminated in favor of plaintiff;

(3) that defendants acted with malice and without probable cause;

and (4) that plaintiff suffered damages.”                  Díaz-Nieves v. United

States, 858 F.3d 678, 688 (1st Cir. 2017) (citation omitted). With

respect to the third element, a “plaintiff must show both that the

defendant acted with malice and that he acted without probable

cause.”     Id. at 688 (citation omitted).

IV.    Discussion

       As   the    Court   found    in    its   previous    Opinion   and   Order,

Calderón asserts sufficient factual matter to state a malicious

prosecution claim pursuant to the FTCA that is plausible on its

face.       See Calderón-López, 303 F. Supp. 3d at 225; see also

Twombly,     550    U.S.   at   570;     González-Rucci,       405   F.3d   at   49.

According to the United States, “Plaintff’s claim for malicious

prosecution falters on the third element because he has failed to

show that officers acted without probable cause and with malice.”

(Docket No. 24 at p. 6.)           While the United States is correct that

“[g]enerally, a grand jury indictment definitively establishes
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probable cause,” id. (citing González-Rucci, 405 F.3d at 49),

“courts have recognized an exception if law enforcement defendants

wrongfully obtained the indictment by knowingly presenting false

testimony to the grand jury.”          González-Rucci, 405 F.3d at 49

(citing cases). “Such allegations are sufficient, at the pleading

stage, to rebut the presumption of probable cause established by

the grand jury indictment.”        Id. (citation omitted).

     Calderón states that DEA agents presented “maliciously and

negligently obtained statements” to the grand jury because the

physical description of “Calderón el de los puertos” differed from

plaintiff Calderón’s physical description.                (Docket No. 1 at

p. 6.)     According to Calderón, “DEA agents falsely identified

plaintiff    Calderón,”    and   the   “federal    agents     knowingly    and

willfully    identified    Calderón     as   being    a      member   of   the

organization engaging in illegal activities when they knew it was

false” before the grand jury.       (Docket No. 1 at p. 10.)          Calderón

asserts that “[t]he agents maliciously . . . influenced the grand

jury into wrongly identifying plaintiff Calderón,” and “[d]ue to

. . . malice of the DEA agents acting as federal employees against

plaintiff Calderón, a criminal action and indictment without

probable    cause   was   sought   against   him     based    on   fabricated

evidence.”    Id. at pp. 11 and 16.
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      Because Calderón alleges that the United States obtained the

indictment through the use of false testimony, the Court concludes

that Calderón has adequately pled facts to satisfy the third

element of his malicious prosecution claim.            See González-Rucci,

405 F.3d at 49.     The parties do not dispute the other elements of

Calderón’s claim.      Accordingly, the Court finds that Calderón has

pled a viable claim for malicious prosecution. 5

V.    Conclusion

      For the reasons above, the United States’ motion to dismiss

the malicious prosecution claim is DENIED.                (Docket No. 24.)

      IT IS SO ORDERED.

      San Juan, Puerto Rico, October 10, 2018.


                                          s/ Francisco A. Besosa
                                          FRANCISCO A. BESOSA
                                          UNITED STATES DISTRICT JUDGE




5 The United States’ qualified immunity defense is unavailing.      See Docket
No. 24 at pp. 7-11; González-Rucci, 405 F.3d at 49; cf. Aponte-Matos v. Toledo-
Dávila, 135 F.3d 182, 187-89 (1st Cir. 1998) (holding that an officer is not
entitled to qualified immunity in a 42 U.S.C. § 1983 action if there is an
issue of fact as to whether he obtained the warrant relied upon by knowingly
presenting false evidence); Rivera-Marcano v. Normeat Royal Dane Quality A/S,
998 F.2d 34, 38-39 (1st Cir. 1993) (ruling that non-state actor would not be
immunized from a malicious prosecution claim by the independent prosecutor’s
decision to commence a criminal action if he effectively instigates the
prosecution by knowingly providing false information to the authorities);
Negrón-Rivera v. Rivera-Claudio, 290 n.1 (1st Cir. 2000) (similar).
